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                    Exhibit B
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                                                     U.S. Department of Justice

                                                     Civil Division


________________________________________________________________________
Office of the Assistant Attorney General             Washington, D.C. 20530




Lorin L. Reisner
Paul, Weiss, Rifkind, Wharton & Garrison LLP
1285 Avenue of the Americas
New York, NY 10019


Dear Mr. Reisner:

        I write in response to recent press reports indicating that Simon & Schuster plans to
publish, on September 1, 2020, a book by Stephanie Winston Wolkoff called Melania and Me.

         As you are aware, as part of her volunteer arrangement for providing services to the
White House Office of the First Lady and the First Lady, Ms. Wolkoff signed a Gratuitous
Services Agreement promising to protect information covered by the Agreement from disclosure.
In signing the Agreement, Ms. Wolkoff acknowledged that she “may have access to nonpublic,
privileged and/or confidential information,” and expressly agreed to “protect from inadvertent or
intentional release or unauthorized disclosure any and all information furnished to me under this
Agreement.” Furthermore, Ms. Wolkoff acknowledged that she is “specifically prohibited from
publishing, reproducing or otherwise divulging any such information to any unauthorized person
or entity in whole or in part,” and she agreed to “take all reasonable measures to protect it from
unauthorized disclosure.”

        According to press reports, Ms. Wolkoff’s book appears to violate these commitments.
Portions of the book relate to “her role as the First Lady’s trusted advisor” and “her abrupt and
very public departure” from that role in February 2018. See https://www.usatoday.com/story/
entertainment/books/2020/07/07/melania-trump-former-confidante-stephanie-winston-wolkoff-
pens-book/5388770002/. See also https://www.vanityfair.com/news/2020/07/stephanie-winston-
wolkoff-book-melania (observing that the book will cover her time “navigating the White House
and East Wing”). If these reports are true, the book appears to contain government information
that Ms. Wolkoff expressly promised to not disclose.
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        Please confirm immediately, but no later than July 17, that Ms. Wolkoff’s book will not
contain any information covered by the Agreement. If you are unable to do so, the government
will pursue all available legal remedies.


                                                    Sincerely,

                                                    s/ Ethan P. Davis

                                                    Ethan P. Davis
                                                    Acting Assistant Attorney General


CC: Elizabeth McNamara
Counsel for Simon and Schuster
